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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

cues 4 = 2025 co-acronacn

18 U.S.C. § 371
18 U.S.C. § 1347
18 U.S.C. § 1956
18 U.S.C. §2

18 U.S.C. § 982

MAGISTRATE JURGE
BANDATRA

UNITED STATES OF AMERICA

vs. FILED by _ D.C.
MAG. SEC.

LEONARDO JAVIER BOLANOS, AP2 29 2034
ROBERT PETER SAUVE,

ALEJANDRA VANESSA CARNARU, olen US. DIST er
JOSEPH SHANE ELLIOTT, ——

JORGE HUMBERTO FORCADA,

CLARK CARLTON MITCHELL,

JOSE JOAQUIN VEGA,

REBECA NEREYDA NUNEZ,
and

ORLANDO AMIGO,

Defendants.
/

INDICTMENT

The Grand Jury charges that:
GENERAL ALLEGATIONS

At all times relevant to this Indictment:
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The Clinics

1. Bolanos Institute, Inc. (hereinafter “Bolanos Institute”) was a medical clinic
located at 1370 Washington Avenue, Suite 309, in Miami Beach, Florida, and was in business
from in or around December 2001 to in or around July 2003, when the clinic closed.

2. The Lefebvre Institute Corporation (hereinafter “Lefebvre Institute”) was a
medical clinic located at 411 Michigan Avenue, Suite B, Miami Beach, Florida, and was in
business from in or around April 2002 to in or around July 2003, when the clinic closed.

3. Both Bolanos Institute and Lefebvre Institute claimed to specialize in the
treatment of patients diagnosed with Human Immunodeficiency Virus (“HIV”). HIV is a viral
infection that attacks a patient’s immune system. Bolanos Institute and Lefebvre Institute
purported to provide intravenous infusion treatments, i.e., the insertion of a needle into a
patient’s vein, in order to administer multivitamins, Neupogen, and Procrit (also known as
“Epogen’”). Neupogen and Procrit are medications that can be used in select cases to treat HIV
patients.

4. Bolanos Institute and Lefebvre Institute submitted claims to the Medicare
program, seeking reimbursements for the cost of infusion treatments of Neupogen and Procrit
that were supposedly provided to patients.

5. From in or around February 2002 to in or around June 2003, Bolanos Institute
received approximately $3,723,373 in Medicare reimbursements based upon claims for alleged

treatments of Neupogen and Procrit.
|
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6. From in or around August 2002 to in or around June 2003, Lefebvre Institute
received approximately $1,672,326 in Medicare reimbursements based upon claims for alleged
treatments of Neupogen and Procrit.

The Medicare Program

7. The Medicare Program (“Medicare”) was a federal program that provided free or
below-cost health care benefits to certain individuals, primarily the elderly, blind, and disabled.
The benefits available under Medicare are prescribed by statute and by federal regulations under
the auspices of the United States Department of Health and Human Services, through its agency,
the Centers for Medicare and Medicaid Services (“CMS”). Individuals who received benefits
under Medicare were commonly referred to as Medicare “beneficiaries.”

8. Medicare was a “health care benefit program,” as defined by Title 18, United
States Code, Section 24(b).

9. Medicare Part B covered costs of certain medical services and medications
provided and prescribed by physicians, clinics, and other health care providers. Medicare Part B
was administered in Florida by First Coast Service Options (“FCSO”), a company that contracted
with CMS to receive, adjudicate, process and pay Medicare Part B claims. Medicare Part B
payments were made directly to the physician, clinic, or other provider of the medical services,
rather than to the beneficiary.

10.‘ Physicians, clinics, and other health care providers that provided services to
Medicare beneficiaries were able to apply for and obtain a “provider number.” A health care
provider who had been issued a Medicare provider number was able to file claims with Medicare

to obtain reimbursement for services provided to beneficiaries. A Medicare claim was required
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to set forth, among other things, the beneficiary’s name and Medicare identification number, the
services that had been performed for the beneficiary, the date the services were provided, the cost
of the services, and the name and identification number of the physician or other health care
provider who had ordered the services.

11. For Medicare billing purposes, medical services and medications provided to
beneficiaries were identified by a Current Procedural Terminology (“CPT”) code. The CPT code
for the medication Neupogen was J1440. The CPT code for the medication Procrit was Q0136.

12. Medicare paid for a portion of the cost of medical services and medications that
were medically necessary and ordered by licensed physicians or other qualified health care
providers.

13. For services purportedly rendered from in or around December 2001 through in or
around April 2002, Bolanos Institute billed Medicare under provider numbers assigned to
JORGE HUMBERTO FORCADA, 02389B and 02689Z, and utilized FORCADA’s Unique
Physician Identification Number (“UPIN”), D50608.

14. For services purportedly rendered from in or around April 2002 through in or
around July 2003, Bolanos Institute billed Medicare its assigned Medicare provider number,
K3344.

15. From services purportedly rendered from in or around April 2002 through in or
around July 2003, Lefebvre Institute billed Medicare under its assigned Medicare provider

number, K3532.
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The Defendants

16. Defendant LEONARDO JAVIER BOLANOS owned and operated Bolanos
Institute, overseeing and managing its important business and financial decisions until the clinic
closed in or around July 2003. BOLANOS also was the registered agent for Lefebvre Institute and
had signature authority on its business bank account.

17. Defendant ROBERT PETER SAUVE assisted in the operation of Bolanos Institute
from in or around December 2001 until in or around July 2003. SAUVE also owned and operated
Lefebvre Institute beginning in or around April 2002 until the clinic closed in or around July 2003.

18. Defendant ALEJANDRA VANESSA CARNARU was employed at Bolanos
Institute from in or around December 2001 until in or around July 2003. CARNARU also worked
at Lefebvre Institute from in or around April 2002 until in or around July 2003. CARNARU was
the office manager and director at Bolanos Institute and handled the billing for Bolanos Institute and
Lefebvre Institute. In or around July 2002, CARNARU was appointed Executive Vice President
of Bolanos Institute. CARNARU signed Bolanos Institute’s checks.

19. Defendant JOSEPH SHANE ELLIOTT was employed as the office manager at
Lefebvre Institute and performed clerical duties from in or around May 2002 until in or around July
2003. During this period, ELLIOTT also worked at Bolanos Institute intermittently.

20. Defendant JORGE HUMBERTO FORCADA was a medical doctor licensed to
practice medicine in the State of Florida) FORCADA was employed by Bolanos Institute and
treated patients at the clinic from in or around December 2001 through in or around March 2003.

FORCADA was the Medical Director at Bolanos Institute from in or around February 2002 through
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in or around March 2003 and at Lefebvre Institute from in or around March 2002 through in or
around January 2003.

21. Defendant CLARK CARLTON MITCHELL was a medical doctor licensed to
practice medicine in the State of Florida. He was employed by Lefebvre Institute and treated patients
at the clinic from in or around April 2002 until in or around July 2003. He worked at Bolanos
Institute and treated patients at the clinic from in or around February 2003 until in or around July
2003. MITCHELL was the Medical Director at Bolanos Institute from in or around March 2003
through in or around July 2003.

22. Defendant JOSE JOAQUIN VEGA was a medical doctor licensed to practice
medicine in the State of Florida. VEGA was employed by Bolanos Institute and treated patients at
the clinic from in or around September 2002 until in or around July 2003. He was also the Medical
Director at Lefebvre Institute from in or around February 2003 through in or around July 2003.

23. DefendantREBECA NEREYDA NUNEZ worked as a medical assistant at Bolanos
Institute from in or around December 2002 until in or around July 2003. She was also employed as
a medical assistant at Lefebvre Institute from in or around January 2003 until in or around July 2003.

24. Defendant ORLANDO AMIGO worked as a medical assistant at Bolanos Institute
from in or around January 2003 until in or around July 2003.

COUNT 1
(Health Care Fraud Conspiracy: 18 U.S.C. § 371)

1. Paragraphs 1 through 24 of the General Allegations section are realleged and

incorporated by reference as though fully set forth herein.
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2. From in or around December 2001, the exact date being unknown to the Grand Jury,
and continuing through in or around July 2003, in Miami-Dade County, in the Southern District of
Florida, the defendants,

LEONARDO JAVIER BOLANOS,
ROBERT PETER SAUVE,
ALEJANDRA VANESSA CARNARU,
JOSEPH SHANE ELLIOTT,
JORGE HUMBERTO FORCADA,
CLARK CARLTON MITCHELL,
JOSE JOAQUIN VEGA,
REBECA NEREYDA NUNEZ
and
ORLANDO AMIGO,
did knowingly and willfully combine, conspire, confederate, agree, and reach a tacit understanding
with each other and with persons known and unknown to the Grand Jury:

(A) _ to defraud the United States by impairing, impeding, obstructing, and
defeating, through deceitful and dishonest means, the lawful government functions of the United
States Department of Health and Human Services in its administration and oversight of Medicare;
and;

(B) to commit an offense against the United States, that is, to violate Title 18,
United States Code, Section 1347, by knowingly and willfully executing, and attempting to execute,
a scheme and artifice to defraud and to obtain, by means of materially false and fraudulent pretenses,
representations, and promises, money and property owned by, and under the custody and control of,
a health care benefit program as defined in Title 18, United States Code, Section 24(b), that is,

Medicare, in connection with the delivery of and payment for health care benefits, items, and

services.
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PURPOSE AND OBJECT OF THE CONSPIRACY

3. It was the purpose and object of the conspiracy for the defendants to unlawfully enrich
themselves by: (a) submitting false and fraudulent claims to Medicare; (b) paying kickbacks and
bribes to Medicare beneficiaries so that the beneficiaries would serve as patients at the Bolanos
Institute and Lefebvre Institute, thereby furthering the billing fraud scheme; (c) concealing the
submission of false and fraudulent claims to Medicare, the receipt and transfer of fraud proceeds,
and the payment of kickbacks and bribes; and (d) diverting fraud proceeds for the defendants’
personal use and benefit.

MANNER AND MEANS USED TO ACCOMPLISH THE CONSPIRACY

The manner and means by which the defendants and their co-conspirators sought to
accomplish the purpose and object of the conspiracy included, but were not limited to, the following:

4. LEONARDO JAVIER BOLANOS and ROBERT PETER SAUVE established
Bolanos Institute and Lefebvre Institute.

5. LEONARDO JAVIER BOLANOS and ROBERT PETER SAUVE directed
medical assistants at the Bolanos Institute and Lefebvre Institute to provide infusion therapy
treatments of vitamins and diluted medications, or treatments simply of vitamins, to patients who
were, in fact, HIV positive.

6. LEONARDO JAVIER BOLANOS and ROBERT PETER SAUVE directed
medical assistants to falsely state on “Infusion Therapy” sheets that the medical assistants had
provided patients with infusion therapy treatments containing specific dosages of medications.

7. REBECA NEREYDA NUNEZ and ORLANDO AMIGO, among others, fabricated

therapy notes and related documents that stated that patients had received infusion treatments and
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specific dosages of medications, when, in fact, the patients had not received the treatments and
medications indicated on the therapy notes and related documents.

8. In order to conceal the fact that patients were not receiving the treatments and
medications that were described in patient files, JORGE HUMBERTO FORCADA, CLARK
CARLTON MITCHELL, and JOSE JOAQUIN VEGA falsified patient medical diagnoses in
progress notes and related medical documentation, which were placed in such files.

9. LEONARDO JAVIER BOLANOS, ROBERT PETER SAUVE, and
ALEJANDRA VANESSA CARNARU submitted, or caused to be submitted, to Medicare
numerous false and fraudulent claims on behalf of Bolanos Institute and Lefebvre Institute, seeking
reimbursement for the cost of infusion treatments and medications, including Neupogen and Procrit,
that were not provided, not provided as claimed, or were not medically necessary.

10. To promote and continue the fraud scheme, LEONARDO JAVIER BOLANOS,
ROBERT PETER SAUVE, and JOSEPH SHANE ELLIOTT paid kickbacks and bribes to
Medicare beneficiaries to ensure that the beneficiaries would serve as patients at the Bolanos
Institute and Lefebvre Institute.

OVERT ACTS IN FURTHERANCE OF THE CONSPIRACY

In furtherance of the conspiracy, and to accomplish its object, at least one of the co-

conspirators committed or caused to be committed, in the Southern District of Florida, at least one

of the following overt acts, among others:

Medicare Beneficiary J.C.

1. On or about February 26, 2002, LEONARDO JAVIER BOLANOS, ROBERT

PETERSAUVE, and ALEJANDRA VANESSA CARNARU submitted or caused to be submitted
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a false claim to Medicare, on behalf of Bolanos Institute, seeking reimbursement for the cost of
Neupogen that supposedly had been provided to Medicare beneficiary J.C. on or about February 22,
2002.

Medicare Beneficiary V.M.

2. On or about September 12, 2002, CLARK CARLTON MITCHELL signed
progress notes indicating that he had examined Medicare beneficiary V.M.

3. On or about September 13, 2002, LEONARDO JAVIER BOLANOS, ROBERT
PETER SAUVE, and ALEJANDRA VANESSA CARNARU submitted or caused to be submitted
a false claim to Medicare, on behalf of Lefebvre Institute, seeking reimbursement for the cost of
Neupogen that had supposedly been provided to Medicare beneficiary V.M. on or about September
12, 2002.

4. On or about June 30, 2003, LEONARDO JAVIER BOLANOS, ROBERT
PETER SAUVE, and ALEJANDRA VANESSA CARNARU submitted or caused to be submitted
a false claim to Medicare, on behalf of Lefebvre Institute, seeking reimbursement for the cost of
Neupogen that had supposedly been provided to Medicare beneficiary V.M. on or about June 21,
2003.

Medicare Beneficiary S.C.

5. On or about June 25, 2003, ORLANDO AMIGO prepared an Infusion Therapy sheet
that falsely stated that Medicare beneficiary S.C. had received 600 micrograms of Neupogen.
6. On or about June 30, 2003, LEONARDO JAVIER BOLANOS, ROBERT PETER

SAUVE, and ALEJANDRA VANESSA CARNARU submitted or caused to be submitted a false

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claim to Medicare, on behalf of Bolanos Institute, seeking reimbursement for the cost of Neupogen
that supposedly had been provided to Medicare beneficiary S.C. on or about June 25, 2003.

Medicare Beneficiary F.C.

7. On or about December 3, 2002, JORGE HUMBERTO FORCADA signed an
Office Visit and Progress Note indicating that he had examined Medicare beneficiary F.C.

8. On or about December 4, 2002, JOSE JOAQUIN VEGA signed a Follow Up Visit
form that indicated that he had examined Medicare beneficiary F.C.

9. On or about December 9, 2002, REBECA NEREYDA NUNEZ prepared an Infusion
Therapy sheet that falsely stated that Medicare beneficiary F.C. had received 600 micrograms of
Neupogen.

10. Onor about December 16, 2002, LEONARDO JAVIER BOLANOS, ROBERT
PETER SAUVE, and ALEJANDRA VANESSA CARNARU submitted or caused to be submitted
a false claim to Medicare, on behalf of Bolanos Institute, seeking reimbursement for the cost of
Neupogen that supposedly had been provided to Medicare beneficiary F.C. on or about December
9, 2002.

11. On or about February 24, 2003, JORGE HUMBERTO FORCADA signed a
Subsequent Visit Note that falsely stated that Medicare beneficiary F.C. had Neutropenia.

12. Onorabout May 9, 2003, JOSE JOAQUIN VEGA signed a Follow-Up Office Visit
form that falsely indicated that Medicare beneficiary F.C. had Neutropenia.

13. Inoraround May 2003, aco-conspirator paid a cash kickback to Medicare beneficiary
F.C.

14. Onor about May 22, 2003, LEONARDO JAVIER BOLANOS, ROBERT

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PETER SAUVE, and ALEJANDRA VANESSA CARNARU submitted or caused to be submitted
a false claim to Medicare, on behalf of Bolanos Institute, seeking reimbursement for the cost of
Neupogen that supposedly had been provided to Medicare beneficiary F.C. on or about May 14,
2003.

15. | Onor about May 29, 2003, LEONARDO JAVIER BOLANOS, ROBERT
PETER SAUVE, and ALEJANDRA VANESSA CARNARU submitted or caused to be submitted
a false claim to Medicare, on behalf of Bolanos Institute, seeking reimbursement for the cost of
Neupogen that supposedly had been provided to Medicare beneficiary F.C. on or about May 21,
2003.

Medicare Beneficiary J.H.

16. Onorabout April 15,2002, JORGE H. FORCADA signed a Subsequent Visits form
that indicated that he had examined J.H. and that he had prescribed Neupogen.

17. | Onorabout May 20, 2002, JORGE H. FORCADA signed a Subsequent Visits form
that indicated that he had examined J.H.

18. Onorabout January 6, 2003, REBECA NEREYDA NUNEZ prepared an Infusion
Therapy Sheet that falsely stated that Medicare beneficiary J.H. had received 600 micrograms of
Neupogen and 10,000 units of Procrit.

19. On or about March 5, 2003, JOSE JOAQUIN VEGA signed a Follow-Up Office
Visit form that falsely stated that Medicare beneficiary J.H. had Neutropenia and Anemia.

20. Onor about May 7, 2003, CLARK CARLTON MITCHELL signed a Follow-Up
Visit form that falsely indicated that Medicare beneficiary J.H had Anemia.

21. Onorabout June 25, 2003, CLARK CARLTON MITCHELL initialed a Bolanos

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Institute Infusion Therapy form that falsely indicated that Medicare beneficiary J.H. had received 600
micrograms of Neupogen and 10,000 units of Procrit.

22. Onorabout June 30, 2003, LEONARDO JAVIER BOLANOS, ROBERT PETER
SAUVE, and ALEJANDRA VANESSA CARNARU submitted or caused to be submitted a false
claim to Medicare, on behalf of Bolanos Institute, seeking reimbursement for the cost of Procrit that
was supposedly provided to Medicare beneficiary J.H. on or about June 25, 2003.

Medicare Beneficiary E.R.

23. On or about February 22, 2002, LEONARDO JAVIER BOLANOS, ROBERT
PETER SAUVE, and ALEJANDRA VANESSA CARNARU submitted or caused to be submitted
false claims to Medicare, on behalf of Bolanos Institute, seeking reimbursement for the cost of
Neupogen that was supposedly provided to Medicare beneficiary E.R. on or about December 24,
2001.

24. Onor about May 5, 2003, ORLANDO AMIGO prepared an Infusion Therapy
sheet that falsely indicated that Medicare beneficiary E.R. had received 600 micrograms of
Neupogen.

25. Onorabout April 23, 2003, JOSE JOAQUIN VEGA signed a Follow-Up Visit form
that falsely indicated that Medicare beneficiary E.R. had Neutropenia.

26. Onorabout May 14,2003, LEONARDO JAVIER BOLANOS, ROBERT PETER
SAUVE, and ALEJANDRA VANESSA CARNARU submitted or caused to be submitted false
claims to Medicare, on behalf of Bolanos Institute, seeking reimbursement for the cost of Neupogen

that was supposedly provided to Medicare beneficiary E.R. on or about May 9, 2003.

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Medicare Beneficiary D.M.

27. On or about March 26, 2003, CLARK CARLTON MITCHELL signed a
Subsequent Visits form that falsely indicated that Medicare beneficiary D.M. had Neutropenia.

28. Onor about May 12, 2003, ORLANDO AMIGO prepared an Infusion Therapy
sheet that falsely stated that Medicare beneficiary D.M. had received 600 micrograms of Neupogen.

29. Onor about May 30, 2003, LEONARDO JAVIER BOLANOS, ROBERT PETER
SAUVE, and ALEJANDRA VANESSA CARNARU submitted or caused to be submitted a false
claim to Medicare, on behalf of Bolanos Institute, seeking reimbursement for the cost of Neupogen
that was supposedly provided to Medicare beneficiary D.M. on or about May 12, 2003.

Medicare Beneficiary R.C.

30. On or about October 7, 2002, JORGE HUMBERTO FORCADA signed an Office
Visit and Progress Notes form that indicated that he had examined Medicare beneficiary R.C. and
that falsely stated that Medicare beneficiary R.C. had Neutropenia.

31. On or about December 9, 2002, REBECA NEREYDA NUNEZ prepared an
Infusion Therapy sheet that falsely stated that Medicare beneficiary R.C. had received 600
micrograms of Neupogen and 10,000 units of Procrit.

32. On or about March 29, 2003, LEONARDO JAVIER BOLANOS, ROBERT
PETER SAUVE, and ALEJANDRA VANESSA CARNARU submitted or caused to be submitted
a false claims to Medicare, on behalf of Lefebvre Institute, seeking reimbursement for the cost of
Neupogen that was supposedly provided to Medicare beneficiary R.C. on or about March 22, 2003.

All in violation of Title 18, United States Code, Section 371.

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COUNTS 2-29
(Health Care Fraud: 18 U.S.C. §§ 1347 and 2)

1. Paragraphs 1 through 24 of the General Allegations section are realleged and
incorporated as though fully set forth herein.

2. From in or around December 2001, and continuing through in or around July 2003,
in Miami-Dade County, in the Southern District of Florida, and elsewhere, the defendants, as
identified in Counts 2 through 30 below, in connection with the delivery of and payment for health
care benefits, items, and services, did knowingly and willfully execute, and attempt to execute, a
scheme and artifice to defraud a health care benefit program, as defined in Title 18, United States
Code, Section 24(b), that is, Medicare, and to obtain, by means of materially false and fraudulent
pretenses, representations, and promises, money and property owned by, and under the custody and
control of, said health care benefit program, that is: the defendants knowingly submitted, and caused
to be submitted, to Medicare, through FCSO, the Medicare Part B carrier, false and fraudulent claims
seeking reimbursement for the cost of infusions of Neupogen and Procrit.

PURPOSE AND OBJECT OF THE SCHEME AND ARTIFICE

3. It was the purpose and object of the scheme and artifice for the defendants to
unlawfully enrich themselves by: (a) submitting false and fraudulent claims to Medicare; (b) paying
kickbacks and bribes to Medicare beneficiaries so that the beneficiaries would serve as patients at
Bolanos Institute and Lefebvre Institute, thereby furthering the billing fraud scheme; (c) concealing
the submission of false and fraudulent claims to Medicare, the receipt and transfer of fraud proceeds,
and the payment of kickbacks and bribes; and (d) diverting fraud proceeds for the defendants’

personal use and benefit.

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MANNER AND MEANS OF THE SCHEME AND ARTIFICE

4. The allegations in Paragraphs 4 through 10 of the Manner and Means section of
Count 1 of this Indictment are realleged and incorporated by reference as though fully set forth
herein as a description of the manner and means of the scheme and artifice.

ACTS IN EXECUTION OF THE SCHEME AND ARTIFICE TO DEFRAUD

On or about the dates set forth as to each count below, in Miami-Dade County, in the
Southern District of Florida, and elsewhere, the defendants, identified as to each count below, in
connection with the delivery of and payment for health care benefits, items, and services, did
knowingly and willfully execute, and attempt to execute, the above-described scheme and artifice
to defraud Medicare, a health care benefit program, and to obtain, by means of materially false and
fraudulent pretenses, representations, and promises, money and property owned by, and under the

custody and control of, Medicare:

Count | Patient/ Patient | Clinic Date of Date of Service Billed/
Medicare Service Claim Amount of Claim
Claim Number

2 LEONARDO JAVIER BOLANOS, J.C. Bolanos 02-22-02 02-26-02 | Neupogen (J1440)
ROBERT PETER SAUVE, Institute $400.00

and

ALEJANDRA VANESSA
CARNARU

3 LEONARDO JAVIER BOLANOS, J.C. Bolanos 08-07-02 08-13-02 | Neupogen (J1440)
ROBERT PETER SAUVE, Institute $400.00

and

ALEJANDRA VANESSA
CARNARU

4 LEONARDO JAVIER BOLANOS, V.M. Lefebvre 09-12-02 09-13-02 | Neupogen (51440)
ROBERT PETER SAUVE, Institute $400.00

and

ALEJANDRA VANESSA
CARNARU

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Count | Patient/ Patient | Clinic Date of Date of Service Billed/
Medicare Service Claim Amount of Claim
Claim Number

5 LEONARDO JAVIER BOLANOS, V.M. Lefebvre 06-21-03 06-30-03 Neupogen (J1440)
ROBERT PETER SAUVE, Institute $500.00

and

ALEJANDRA VANESSA
CARNARU

6 LEONARDO JAVIER BOLANOS, S.C, Bolanos 03-19-03 03-26-03 | Neupogen (J1440)
ROBERT PETER SAUVE, Institute $500.00
ALEJANDRA VANESSA
CARNARU,

and

JOSE JOAQUIN VEGA

7 LEONARDO JAVIER BOLANOS, S.C. Bolanos 06-25-03 06-30-03 Neupogen (J1440)
ROBERT PETER SAUVE, Institute $500.00
ALEJANDRA VANESSA
CARNARU,

and

ORLANDO AMIGO

8 LEONARDO JAVIER BOLANOS, F.C. Bolanos 12-9-02 12-16-02 | Neupogen (J1440)
ROBERT PETER SAUVE, Institute $400.00
ALEJANDRA VANESSA
CARNARU,

and

REBECA NUNEZ

9 LEONARDO JAVIER BOLANOS, F.C. Bolanos 05-14-03 05-22-03 Neupogen (J1440)
ROBERT PETER SAUVE, Institute $500.00
ALEJANDRA VANESSA
CARNARU,

JOSE JOAQUIN VEGA,
and

ORLANDO AMIGO

10 LEONARDO JAVIER BOLANOS, F.C, Bolanos 05-21-03 05-29-03 | Neupogen (J1440)
ROBERT PETER SAUVE, Institute $500.00
ALEJANDRA VANESSA
CARNARU,

JOSE JOAQUIN VEGA,
and

ORLANDO AMIGO

1 LEONARDO JAVIER BOLANOS, J.H. Bolanos 05-31-02 06-07-02 | Neupogen (J1440)
ROBERT PETER SAUVE, Institute $400.00
ALEJANDRA VANESSA
CARNARU,

and

JORGE HUMBERTO FORCADA

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Count

Patient/
Medicare
Claim Number

Patient

Clinic

Date of
Service

Date of
Claim

Service Billed/
Amount of Claim

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LEONARDO JAVIER BOLANOS,
ROBERT PETER SAUVE,
ALEJANDRA VANESSA
CARNARU,

and

JORGE HUMBERTO FORCADA

J.H.

Bolanos
Institute

05-31-02

06-07-02

Procrit (Q0136)
$200.00

LEONARDO JAVIER BOLANOS,
ROBERT PETER SAUVE,
ALEJANDRA VANESSA
CARNARU,

JOSE JOAQUIN VEGA,

and

REBECA NUNEZ

J.H.

Bolanos
Institute

01-06-03

01-09-03

Neupogen (J1440)
$400.00

LEONARDO JAVIER BOLANOS,
ROBERT PETER SAUVE,
ALEJANDRA VANESSA
CARNARU,

JOSE JOAQUIN VEGA,

and

REBECA NUNEZ

J...

Bolanos
Institute

01-06-03

01-09-03

Procrit (Q0136)
$200.00

LEONARDO JAVIER BOLANOS,
ROBERT PETER SAUVE,
ALEJANDRA VANESSA
CARNARU,

JOSE JOAQUIN VEGA,

and

ORLANDO AMIGO

J.H.

Bolanos
Institute

03-17-03

03-26-03

Neupogen (J1440)
$500.00

LEONARDO JAVIER BOLANOS,
ROBERT PETER SAUVE,
ALEJANDRA VANESSA
CARNARU,

JOSE JOAQUIN VEGA,

and

ORLANDO AMIGO

J.H.

Bolanos
Institute

03-17-03

03-26-03

Procrit (Q0136)
$250.00

17

LEONARDO JAVIER BOLANOS,
ROBERT PETER SAUVE,
ALEJANDRA VANESSA
CARNARU,

and

CLARK CARLTON MITCHELL

J.H.

Bolanos
Institute

06-04-03

06-10-03

Neupogen (J1440)
$500.00

18

‘Case 1:04-cr-20264-CMA Document 3 Entered on FLSD Docket 05/05/2004 Page 19 of 34

Count

Patient/
Medicare
Claim Number

Patient

Clinic

Date of
Service

Date of
Claim

Service Billed/
Amount of Claim

LEONARDO JAVIER BOLANOS,
ROBERT PETER SAUVE,
ALEJANDRA VANESSA
CARNARU,

and

CLARK CARLTON MITCHELL

J.H.

Bolanos
Institute

06-04-03

06-10-03

Procrit (Q0136))
$250.00

LEONARDO JAVIER BOLANOS,
ROBERT PETER SAUVE,
ALEJANDRA VANESSA
CARNARU,

CLARK CARLTON MITCHELL,
and

ORLANDO AMIGO

J.H.

Bolanos
Institute

06-25-03

06-30-03

Neupogen (J1440)
$500.00

20

LEONARDO JAVIER BOLANOS,
ROBERT PETER SAUVE,
ALEJANDRA VANESSA
CARNARU,

CLARK CARLTON MITCHELL,
and

ORLANDO AMIGO

J.H.

Bolanos
Institute

06-25-03

06-30-03

Procrit (Q0136)
$250.00

21

LEONARDO JAVIER BOLANOS,
ROBERT PETER SAUVE,

and

ALEJANDRA VANESSA
CARNARU

E.R.

Bolanos
Institute

12-24-01

02-22-02

Neupogen (J1440)
$400.00

22

LEONARDO JAVIER BOLANOS,
ROBERT PETER SAUVE,

and

ALEJANDRA VANESSA
CARNARU

E.R.

Bolanos
Institute

12-24-01

02-22-02

Procrit (Q0136)
$200.00

23

LEONARDO JAVIER BOLANOS,
ROBERT PETER SAUVE,
ALEJANDRA VANESSA
CARNARU,

JOSE JOAQUIN VEGA,

and

ORLANDO AMIGO

E.R.

Bolanos
Institute

05-05-03

05-12-03

Neupogen (J1440)
$500.00

24

LEONARDO JAVIER BOLANOS,
ROBERT PETER SAUVE,
ALEJANDRA VANESSA
CARNARU,

and

JOSE JOAQUIN VEGA,

E.R.

Bolanos
Institute

05-09-03

05-14-03

Neupogen (J1440)
$500.00

19

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Count

Patient/
Medicare
Claim Number

Patient

Clinic

Date of
Service

Date of
Claim

Service Billed/
Amount of Claim

25

LEONARDO JAVIER BOLANOS,
ROBERT PETER SAUVE,
ALEJANDRA VANESSA
CARNARU,

CLARK CARLTON MITCHELL,
and

ORLANDO AMIGO

D.M.

Bolanos
Institute

05-12-03

05-30-03

Neupogen (J1440)
$500.00

26

LEONARDO JAVIER BOLANOS,
ROBERT PETER SAUVE,
ALEJANDRA VANESSA
CARNARU,

and

CLARK CARLTON MITCHELL

D.M.

Bolanos
Institute

06-25-03

06-30-03

Neupogen (J1440)
$500.00

27

LEONARDO JAVIER BOLANOS,
ROBERT PETER SAUVE,
ALEJANDRA VANESSA
CARNARU,

JOSE JOAQUIN VEGA,

JORGE HUMBERTO FORCADA,
and

REBECA NEREYDA NUNEZ

R.C,

Bolanos
Institute

12-09-02

12-16-02

Neupogen (31440)
$400.00

28

LEONARDO JAVIER BOLANOS,
ROBERT PETER SAUVE,
ALEJANDRA VANESSA
CARNARU,

JOSE JOAQUIN VEGA,

JORGE HUMBERTO FORCADA,
and

REBECA NEREYDA NUNEZ

RC,

Bolanos
Institute

12-09-02

12-16-02

Procrit (Q0136))
$200.00

29

LEONARDO JAVIER BOLANOS,
ROBERT PETER SAUVE,

and

ALEJANDRA VANESSA
CARNARU

RC.

Lefebvre
Institute

03-22-03

03-29-03

Neupogen (J1440)
$500.00

30

LEONARDO JAVIER BOLANOS,
ROBERT PETER SAUVE,

and

ALEJANDRA VANESSA
CARNARU

RC.

Lefebvre
Institute

05-10-03

06-10-03

Neupogen (J1440)
$500.00

All in violation of Title 18, United States Code, Sections 1347 and 2.

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COUNT 31
(Money Laundering Conspiracy: 18 U.S.C. § 1956(h))

1. Paragraphs 1 through 18 of the General Allegations section are realleged and
incorporated by reference as though fully set forth herein.

2. From in or around March 2002, and continuing through in or around June 2003, in
Miami-Dade County, in the Southern District of Florida, the defendants,

LEONARDO JAVIER BOLANOS,
ROBERT PETER SAUVE,
and
ALEJANDRA VANESSA CARNARU,

did knowingly combine, conspire, confederate, agree with each other and with persons known and
unknown to the Grand Jury to commit offenses under Title 18, United States Code, Sections 1956
and 1957, that is:

(A) to conduct and attempt to conduct financial transactions affecting interstate
commerce, which financial transactions involved the proceeds of specified unlawful activity, that
is, health care fraud, in violation of Title 18, United States Code, Section 1347, knowing that the
property involved in the financial transactions represented the proceeds of some form of unlawful
activity, and with the intent to promote the carrying on of such specified unlawful activity, in
violation of Title 18, United States Code, Section 1956(a)(1)(A)(i); and

(B) to engage and attempt to engage in monetary transactions, affecting interstate
and foreign commerce, involving criminally derived property of a value greater than $10,000, such

property having been derived from a specified unlawful activity, that is, health care fraud, in

violation of Title 18, United States Code, Section 1347, knowing that the property involved in the

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monetary transaction was derived from some form of unlawful activity, in violation of Title 18,
United States Code, Section 1957(a).
All in violation of Title 18, United States Code, Section 1956(h).

FORFEITURE
(18 U.S.C. § 982)

1, The allegations contained in Counts 1-31 of this Indictment are realleged and
incorporated by reference, as though fully set forth herein for the purpose of alleging forfeiture to
the United States of America of certain property in which the defendants have an interest pursuant
to the provisions of Title 18, United States Code, Sections 982(a)(1) and 982(a)(7).

2. Pursuant to Title 18, United States Code, Section 982(a)(7), upon conviction of
LEONARDO JAVIER BOLANOS and ROBERT PETER SAUVE for any of the offenses
charged in Counts 1 through 30, the defendants shall forfeit to the United States all property, real or
personal, that constitutes or is derived, directly or indirectly, from gross proceeds traceable to the
commission of the offense.

3. Pursuant to Title 18, United States Code, Section 982(a)(1), upon conviction of
LEONARDO JAVIER BOLANOS and ROBERT PETER SAUVE for the offense charged in
Count 31, the defendants shall forfeit to the United States all property, real and personal, involved
in such offense, and any property traceable to such property.

4. If the property described above as being subject to forfeiture, as a result of any act or
omission of LEONARDO JAVIER BOLANOS and ROBERT PETER SAUVE,

A. cannot be located upon the exercise of due diligence;

B. has been transferred or sold to or deposited with a third person;

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"Case 1:04-cr-20264-CMA Document 3 Entered on FLSD Docket 05/05/2004 Page 23 of 34

C. has been placed beyond the jurisdiction of the Court;

Dz has been substantially diminished in value; or
E. has been commingled with other property which cannot be subdivided
without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), as made
applicable through Title 18, United States Code, Section 982(b)(1), to seek forfeiture of any other
property of LEONARDO JAVIER BOLANOS and ROBERT PETER SAUVE up to the value
of the above forfeitable property.

All pursuant to Title 18, United States Code, Sections 982(a)(1) and (a)(7) and the procedures
set forth at Title 21, United States Code, Section 853, as made applicable through Title 18, United
States Code, Section 982(b)(1).

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MARCOS DANIEL JIMENEZ
UNITED STATES ATTORNEY

BARBARA MARTINEZ WRI
ASSISTANT UNITED STATES ATTORNEY

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* Case 1:04-cr-20264-CMA Document 3 Entered on FLSD Docket 05/05/2004 Page 24 of 34

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
PENALTY SHEET

Defendant's Name: LEONARDO JAVIER BOLANOS

Case #:

Count#: 1 Conspiracy to Defraud and to Commit Health Care Fraud
18 U.S.C. § 371

*Max. Penalty: 5 Years’ imprisonment

Counts#: 2-30 Health Care Fraud

18 U.S.C. § 1347

*Max. Penalty: 10 Years’ imprisonment on each count

Count #: 31 Money Laundering Conspiracy

18 U.S.C. § 1956(h)

me

*Max. Penalty: 20 Years’ imprisonment

Count #:

*Max. Penalty:

Count #:

*Max. Penalty:

*Refers only to possible term of incarceration, does not include possible fines, restitution,
special assessments, parole terms, or forfeitures that may be applicable.

REV. 12/12/96
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
PENALTY SHEET

Defendant's Name: ROBERT PETER SAUVE

Case #:

Count#: 1 Conspiracy to Defraud and to Commit Health Care Fraud
18 U.S.C. § 371

*Max. Penalty: 5 Years’ imprisonment

Counts#: 2-30 Health Care Fraud

18 U.S.C. § 1347

*Max. Penalty: 10 Years’ imprisonment on each count

Count #: 31 Money Laundering Conspiracy

18 U.S.C. § 1956(h)

*Max. Penalty: 20 Years’ imprisonment

Count #:

*Max. Penalty:

Count #:

*Max. Penalty:

*Refers only to possible term of incarceration, does not include possible fines, restitution,
special assessments, parole terms, or forfeitures that may be applicable.

REV. 12/12/96
~ Case 1:04-cr-20264-CMA Document 3 Entered on FLSD Docket 05/05/2004 Page 26 of 34

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
PENALTY SHEET

Defendant's Name: ALEJANDRA VANESSA CARNARU

Case #:

Count#: 1 Conspiracy to Defraud and to Commit Health Care Fraud
18 U.S.C. § 371

*Max. Penalty: 5 Years’ imprisonment

Counts#: 2-30 MHealth Care Fraud

18 U.S.C. § 1347

*Max. Penalty: 10 Years’ imprisonment on each count

Count #: 31 Money Laundering Conspiracy

18 U.S.C. § 1956(h)

*Max. Penalty: 20 Years’ imprisonment

Count #:

*Max. Penalty:

Count #:

*Max. Penalty:

*Refers only to possible term of incarceration, does not include possible fines, restitution,
special assessments, parole terms, or forfeitures that may be applicable.

REV. 12/12/96
’ Case 1:04-cr-20264-CMA Document 3 Entered on FLSD Docket 05/05/2004 Page 27 of 34

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
PENALTY SHEET

Defendant's Name: JOSEPH SHANE ELLIOTT

Case #:

Count#: 1 Conspiracy to Defraud and to Commit Health Care Fraud
18 USC §371

*Max. Penalty: 5 years’ imprisonment

Counts# :

*Max. Penalty:

Count #:

*Max. Penalty:

Counts #:

*Max. Penalty:

Count #:

*Max. Penalty:

*Refers only to possible term of incarceration, does not include possible fines, restitution,
special assessments, parole terms, or forfeitures that may be applicable.

REV. 12/12/96
Case 1:04-cr-20264-CMA Document 3 Entered on FLSD Docket 05/05/2004 Page 28 of 34

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
PENALTY SHEET

Defendant's Name: JORGE HUMBERTO FORCADA

Case #:

Count#: 1 Conspiracy to Defraud and to Commit Health Care Fraud
18 U.S.C. § 371

*Max. Penalty: 5 Years’ imprisonment

Counts#: 11-12, 27-28
Health Care Fraud

18 U.S.C. § 1347

*Max. Penalty: 10 Years’ imprisonment on each count

Count #:

*Max. Penalty:

Count #:

*Max. Penalty:

Count #:

*Max. Penalty:

*Refers only to possible term of incarceration, does not include possible fines, restitution,
special assessments, parole terms, or forfeitures that may be applicable.

REV. 12/12/96
" Case 1:04-cr-20264-CMA Document 3 Entered on FLSD Docket 05/05/2004 Page 29 of 34

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
PENALTY SHEET

Defendant's Name: CLARK CARLTON MITCHELL

Case #:

Count#: 1 Conspiracy Defraud and to Commit Health Care Fraud
18 U.S.C. § 371

*Max. Penalty: 5 Years’ imprisonment

Counts#: 17-20, 25-26
Health Care Fraud

18 U.S.C. § 1347

*Max. Penalty: 10 Years’ imprisonment on each count

Count #:

*Max. Penalty:

Count #:

*Max. Penalty:

Count #:

*Max. Penalty:

*Refers only to possible term of incarceration, does not include possible fines, restitution,
special assessments, parole terms, or forfeitures that may be applicable.

REV. 12/12/96
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
PENALTY SHEET

Defendant's Name: JOSE JOAQUIN VEGA

Case #:

Count#: 1 Conspiracy to Defraud and to Commit Health Care Fraud
18 U.S.C. § 371

*Max. Penalty: 5 Years’ imprisonment

Counts#: 6, 9-10, 13-16, 23-24, 27-28

Health Care Fraud

18 U.S.C. § 1347

*Max. Penalty: 10 Years’ imprisonment on each count

Count #:

*Max. Penalty:

Count #:

*Max. Penalty:

Count #:

*Max. Penalty:

*Refers only to possible term of incarceration, does not include possible fines, restitution,
special assessments, parole terms, or forfeitures that may be applicable.

REV. 12/12/96
- Case 1:04-cr-20264-CMA Document 3 Entered on FLSD Docket 05/05/2004 Page 31 of 34
UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF FLORIDA
PENALTY SHEET

Defendant's Name: REBECA NEREYDA NUNEZ

Case #:

Count#: 14 Conspiracy to Defraud and to Commit Health Care Fraud
18 U.S.C. § 371

*Max. Penalty: 5 Years’ imprisonment

Counts#: 8, 13-14, 27-28

Health Care Fraud

18 U.S.C. § 1347

*Max. Penalty: 10 Years’ imprisonment on each count

Count #:

*Max. Penalty:

Count #:

*Max. Penalty:

Count #:

*Max. Penalty:

“Refers only to possible term of incarceration, does not include possible fines, restitution,
special assessments, parole terms, or forfeitures that may be applicable.

REV. 12/12/96
* Case 1:04-cr-20264-CMA Document 3 Entered on FLSD Docket 05/05/2004 Page 32 of 34
UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF FLORIDA
PENALTY SHEET

Defendant's Name: ORLANDO AMIGO

Case #:

Count#: 1 Conspiracy to Defraud and to Commit Health Care Fraud
18 U.S.C. § 371

*Max. Penalty: 5 Years’ imprisonment

Counts#: 7, 9-10, 15-16, 19-20, 23, 25
Health Care Fraud

18 U.S.C. § 1347

*Max. Penalty: 10 Years’ imprisonment on each count

Count #:

*Max. Penalty:

Count #:

*Max. Penalty:

Count #:

*Max. Penalty:

“Refers only to possible term of incarceration, does not include possible fines, restitution,
special assessments, parole terms, or forfeitures that may be applicable.

REV. 12/12/96
“Case 1:04-cr-20264-CMA DocumepbSTATes ostraiéhGéurecket 05/05/2004 Page 33 of 34
, JUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA

vs.

LEONARDO JAVIER BOLANOS, ET, AL.,

Defendants.

CASE NO.

CERTIFICATE OF TRIAL ATTORNEY*

Superseding Case Information:

Court Division: (Select One) New Defendant(s) Yes No ——
Number of New Defendants ——
x Miami — — Key West Total number of counts —_—_
— FIL — WPB _ FTP
| do hereby certify that:
1. | have carefully considered the allegations of the indictment, the number of defendants, the number of
probabie witnesses and the legal complexities of the Indictment/Information attached hereto.
2. | am aware that the information supplied on this statement will be relied upon by the Judges of this
Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act,
Title 28 U.S.C. Section 3161.
3. Interpreter: (Yes or No —Na_ “ILE
List language and/or Stalect Mae ey ___ D.C,
4. This case will take —_20. _— days for the parties to try.
APR 23 2004

Please check appropriate category and type of offense listed below:

(Check only one)

(Check only one)
CLARENCE MADDOX

| 0 to 5 days _ Petty —— clerk Us. Ciss, eT.
I 6 to 10 days —_—___ Minor ———f._ 8 eA ita
Ul 11 to 20 days —_xX__ Misdem. —_—_—_—__- 2
IV 21 to 60 days ——__ Felony —_xX__
V 61 days and over
6. Has this case been previously filed in this District Court? (Yes or No) —No__
yes:
Judge: Case No.
(Attach copy of dispositive order
Was a complaint been filed in this matter? (Yes or No) —No_
yes:
Magistrate Case No.
Related Miscellaneous numbers:
Dotondaniey in federal custody as of
Defendant(s) in state custody as of
Rule 20 from the District of
Is this a potential death penalty case? (Yes or No) _Noa_
7. Does this case originate from a matter pending in the U.S. Attorney's Office prior to
April 1, 20037 nse Yes No
8. Does this case originate from a matter pending in the U. S. Attorney’s Office prior to
April 1, 1999? _._._s Yes No
If yes, was it pending in the Central Region? Yes No
9. Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office prior
to October 14, 2003? Yes No
10. Does this case originate from a matter pending in the Narcotics Section (Miami) prior to

May 18, 2003?

*Penaity Sheet(s) attached

Yes —X _ No

BARBARA MARTINEZ WRIGHT
ASSISTANT UNITED STATES ATTORNEY
Court No. A5500536

REV.1/14/04
“S54- ne TS ‘aaa

Case 1:04-cr-20264-CMA , Document 3 Entered on FLSD Docket 05/05/2004 Page 34 of 34

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FORM DBD-34
March 04

THE UNITED STATES OF AMERICA

VS.

LEONARDO JAVIER BOLANOS,
ROBERT PETER SAUVE,
ALEJANDRA VANESSA CARNARU,
JOSEPH SHANE ELLIOT,

JORGE HUMBERTO FORCADA,
CLARK CARLTON MITCHELL,
JOSE JOAQUIN VEGA,

REBECA NEREYDA NUNEZ, and
ORLANDO AMIGO,

Defendants.

INDICTMENT

18 U.S.C. 371
18 U.S.C. 1347
18 U.S.C. 1956
18 U.S.C. 2

18 U.S.C. 982

A true bill. /

FGJ 03-02 (MIA) : Foreman

c GF Fa
Filed in open court this — XK
of .. fOr [ A.D. 2004

Bail, $

